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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7     THOMAS HEATON SPITTERS,                            Case No. 3:21-cv-05138-JD
                                                          Plaintiff,
                                   8
                                                                                            ORDER ADOPTING REPORT AND
                                                   v.                                       RECOMMENDATION
                                   9

                                  10     MICHAEL MICELLI,                                   Re: Dkt. No. 8
                                                          Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13             Magistrate Judge Thomas S. Hixson filed a report recommending dismissal of this case

                                  14   because plaintiff Spitters was not granted in forma pauperis status and did not pay the filing fee,

                                  15   and alternatively because the complaint is frivolous and does not state a claim under Federal Rule

                                  16   of Civil Procedure 12(b)(6). Dkt. No. 8. Spitters did not file an objection or other response to the

                                  17   report.

                                  18             The Court adopts the report and recommendation in full, and the case is dismissed is

                                  19   dismissed without prejudice under Rule 12(b)(6). The Clerk’s Office is asked to close the case.

                                  20             IT IS SO ORDERED.

                                  21   Dated: November 4, 2021

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                                                                                                     JAMES DONATO
                                  24                                                                 United States District Judge
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